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AOI (Rev. 08 139) Criminal Complatit - United States District Court
- FILED 7
os UNITED STATES DISTRICT COURT
Fee JUN 29 2019
Southern District of Texas David J. Bradley, Clerk
United States of America | | )
Nathan Lee TAMEZ ) CaseNo. M~| A—\S 20M

COB: USC ) ase NO-

YOB: 1990
)

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of _ June 27, 2019 ___ inthe county of Hidalgo in the
Southern District of Texas , the defendant(s) violated: . oO
Code Section Offense Description
8 U.S.C. § 1324 . Knowing or in reckless disregard of the fact that Carlos Mena-Paredes and .

Sylviano Sanchez De Jesus, both citizens of Mexico, who had entered the
United States in violation of law; did knowingly transport or move or attempt to
transport said aliens by means of a private vehicle in furtherance of such
violation of law within the United States, this is, from a location near Alamo,
Texas to another location near Alamo, Texas.

This criminal complaint is based on these facts:

SEE ATTACHMENT "A"

¥ Continued on the attached sheet.

Submitted by reliable electronic means, sworn to /S/ Eddie A., Ramirez
and attested to telephonically per Fed. R. Complainant's signature

1,
and probable cause found on: ol ali 4 ae Eddie A. Ramirez , HSI Special Agent

Printed name and title

 

Sworn to before me:and signed in my presence.
Date: 6/29/2019 , o

- Lhe ’s Si natu
City and state: McAllen, Texas J. Séot¥Hgtker, U.S. Magistrate Judge

[ / | Printed name and title

 
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Attachment A

The facts gathered herein are for the purposes of establishing probable cause within this
complaint and do not contain all facts known at this time.

On June 27, 2019, Homeland Security Investigations (HSI) Special Agents, received
information regarding an alien smuggling event from the Alamo Police Department (APD).
APD Officers informed agents that their office received several calls for service regarding
a vehicle collision, gunfire, gunshot victims, and undocumented aliens (UDA)s.

According to APD Officers, they encountered Nathan Lee TAMEZ at the scene of a
vehicle collision in Alamo, Texas and observed TAMEZ to be bleeding from several
gunshot wounds. TAMEZ told APD Officers he was a passenger in a black 2007 Dodge -
Nitro (NITRO) and some people in a white vehicle began to shoot at them in front of a
Burger King. TAMEZ stated he was travelling with a female (later identified as Natalie
Anaid PENA), who was the driver of the Nitro. TAMEZ also stated that he was traveling
with other occupants but claimed not to know who they were. A concerned citizen reported
to APD that they witnessed two additional subjects fleeing the scene of the vehicle

~ collision.

Near the accident scene, APD Officers encountered Carlos MENA-Paredes and Sylviano
SANCHEZ De Jesus as the passengers who fled from the scene of the vehicle collision.
APD Officers contacted Border Patro] agents and it was determined that MENA and
SANCHEZ were both Mexican nationals illegally present in the United States.

On June 28, 2019, HSI agents encountered and interviewed MENA and SANCHEZ.
MENA and SANCHEZ provided HS! agents details of their travel from Mexico into the
United States. On the same day of their arrest, the Nitro occupied by a female driver and
a male passenger picked up MENA and SANCHEZ and transported them to a parking
lot. The female driver and the male passenger instructed MENA and. SANCHEZ to get
down, hide, and not to look at. them. Once parked, the male passenger exited the Nitro
and began speaking to someone in another vehicle, the same male passenger got back
into the Nitro. As the Nitro departed, MENA and SANCHEZ heard gunshots and felt the
vehicle’s windows shattering. The Nitro began travelling at a high rate of speed and
* subsequently collided into an unknown structure before coming to a complete stop. MENA
and SANCHEZ exited the Nitro and fled in an attempt to evade gunfire. MENA and
' SANCHEZ approached a bystander and advised them to call police or immigration
officials so they could turn themselves in. MENA and SANCHEZ both claim that their
_respective family members had already sent smuggling fees in Mexico and they were
both enroute to California, when arrested by law enforcement.

On June 28, 2019, APD Officers retrieved home surveillance footage from the scene of
the vehicle collision. The footage depicts the Nitro colliding into a house. The front
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passenger, wearing a black shirt and red shorts, identified by APD Officers and HSI
agents as TAMEZ, exits the vehicle through the window. Seconds later two subjects HS!
agents identified as MENA and SANCHEZ exit the Nitro and flee the scene.
